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                EXHIBIT 6
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                                                                      Page 1
    IN THE UNITED STATES DISTRICT COURT FOR THE

           NORTHERN DISTRICT OF CALIFORNIA

                SAN FRANCISCO DIVISION



WAYMO, LLC,                    )

           Plaintiffs,         )

           - vs -              ) Case    No.

UBER TECHNOLOGIES, INC.,       ) 3:17-cv-00939

OTTOMOTTO LLC; OTTO            )

TRUCKING, LLC,                 )

           Defendants.         )

__________________________




     VIDEOTAPED DEPOSITION OF JOHN BARES,

a witness, called by the Plaintiff for examination,

in accordance with the Federal Rules of Civil

Procedure, taken by and before Tammie Elias, RPR and

Notary Public in and for the Commonwealth of

Pennsylvania, at the office of Reed Smith, 225 Fifth

Avenue, Suite 1200, Pittsburgh, Pennsylvania, on

Friday, June 16, 2017, commencing at 9:05 a.m.



JOB No. 2640097

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                                                                           Page 2
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                                                                             Page 17
 1          Uber, what was his title?                                         09:21a

 2   A.     I don't know.                                                     09:21a

 3   Q.     When did Mr. Levandowski start working for                        09:21a

 4          Uber?                                                             09:21a

 5   A.     Can you clarify in what capacity?                                 09:21a

 6   Q.     Well, let's start with the earliest date                          09:21a

 7          Mr. Levandowski started working for Uber in                       09:21a

 8          any capacity?                                                     09:22a

 9   A.     So to my knowledge it would have been early                       09:22a

10          May, late April to early May 2016, when he was                    09:22a

11          consulting for the company.                                       09:22a

12   Q.     And how long was Mr. Levandowski consulting                       09:22a

13          for the company?                                                  09:22a

14   A.     I believe from that period up through August                      09:22a

15          18th plus or minus a few days when Uber                           09:22a

16          acquired his company and therefore he became                      09:22a

17          an employee.                                                      09:22a

18   Q.     What was Mr. Levandowski's title when he                          09:22a

19          became an Uber employee?                                          09:22a

20   A.     I don't know.                                                     09:22a

21   Q.     Have you ever heard of Mr. Levandowski                            09:22a

22          referred to as Uber's vice president of                           09:22a

23          engineering?                                                      09:22a

24   A.     Yes.                                                              09:22a

25   Q.     Was that his title at some point?                                 09:22a
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                                                                             Page 19
 1          week of May, yes, May of 2017.                                    09:24a

 2   BY MR. JUDAH:                                                            09:24a

 3   Q.     You referred earlier to consulting work                           09:24a

 4          Mr. Levandowski did starting in late April,                       09:24a

 5          early May 2016; is that correct?                                  09:24a

 6   A.     Correct.                                                          09:24a

 7   Q.     Before that time, had Mr. Levandowski done any                    09:24a

 8          work for Uber?                                                    09:25a

 9   A.     Not that I'm aware of.                                            09:25a

10   Q.     Can you elaborate on the consulting work                          09:25a

11          Mr. Levandowski did between late April, early                     09:25a

12          May and August 2016?                                              09:25a

13   A.     It was quite comprehensive.      He would -- in                   09:25a

14          his role he examined everything we were doing,                    09:25a

15          from sensors to automotive OEM partners to                        09:25a

16          software design, to mapping, to labeling,                         09:25a

17          everything in the self-driving effort.                            09:25a

18          Reviewed all of those pieces, gave comments                       09:25a

19          and suggested, suggested change of direction,                     09:25a

20          paths forward, how to improve what we were                        09:25a

21          doing and gain higher speed.                                      09:26a

22   Q.     Was Mr. Levandowski's consulting work, that                       09:26a

23          included Lidar; correct?                                          09:26a

24   A.     Yes.   Yes, it did.                                               09:26a

25                                                                            09:26a
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                                                                             Page 91
 1          2016?                                                             11:10a

 2   A.     I was director and founder of ATC.                                11:10a

 3   Q.     So between January 2015 and roughly June 2016                     11:10a

 4          --                                                                11:11a

 5   A.     Correct.                                                          11:11a

 6   Q.     -- you were director and founder of ATC?                          11:11a

 7   A.     Correct.                                                          11:11a

 8   Q.     What were your responsibilities in that                           11:11a

 9          capacity?                                                         11:11a

10   A.     Well, to put it in context, ATC at that time                      11:11a

11          of decision by Travis, myself, Jeff Holden,                       11:11a

12          that ATC would be what I think of as a                            11:11a

13          semi-autonomous unit, autonomous not related                      11:11a

14          to car technology.     A very separate unit from                  11:11a

15          the main Uber company, so my responsibilities                     11:11a

16          were everything.    We did our own real estate,                   11:11a

17          we did our own recruiting, staffing, hiring.                      11:11a

18          Virtually much like a startup company, though                     11:11a

19          obviously we didn't have to fundraise, but                        11:11a

20          responsibilities covered everything from real                     11:11a

21          estate to technical design reviews.                               11:11a

22   Q.     Did Uber have any footprint in Pittsburgh                         11:11a

23          before the founding of ATC?                                       11:11a

24   A.     No.   Other than Uber service, car service.                       11:11a

25   Q.     So I take it that the number of people                            11:12a
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1    COMMONWEALTH OF PENNSYLVANIA)              CERTIFICATE

2    COUNTY OF INDIANA                 )        SS:

3         I, Tammie Elias, RPR and Notary Public in and

4    for the Commonwealth of Pennsylvania, do hereby

5    certify that the witness, JOHN BARES, was by me

6    first duly sworn to testify to the truth; that the

7    foregoing deposition was taken at the time and place

8    stated herein; and that the said deposition was

9    recorded stenographically by me and then reduced to

10   printing under my direction, and constitutes a true

11   record of the testimony given by said witness.

12         I further certify that the inspection, reading

13   and signing of said deposition were NOT waived by

14   counsel for the respective parties and by the

15   witness.

16         I further certify that I am not a relative or

17   employee of any of the parties, or a relative or

18   employee of either counsel, and that I am in no way

19   interested directly or indirectly in this action.

20         IN WITNESS WHEREOF, I have hereunto set my

21   hand and affixed my seal of office this 19th day of

22   June, 2017.

23

24                    <%signature%>
                     _______________
25                    Notary Public
